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 2   MICHAEL PETRIK, Jr., Bar #177913
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 3   801 I Street, 3rd Floor
     Sacramento, California 95814
 4   Telephone: (916) 498-5700
 5   Attorney for Defendant
     ANTHONY MONTANO
 6
 7
 8                          IN THE UNITED STATES DISTRICT COURT
 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
12   UNITED STATES OF AMERICA,       )        Case No. 2:10-CR-477 LKK
                                     )
13                  Plaintiff,       )
                                     )        STIPULATION AND ORDER TO CONTINUE
14        v.                         )        STATUS CONFERENCE TO November 8,
                                     )        2011
15   LONNIE TERRELL, ANTHONY         )
     MONTANO, ALEX LINDBERG, JEREMY )         Date: September 20, 2011
16   TERRELL, NICHOLAS ROMAN, and    )        Time: 9:15 a.m.
     RUTH JIMENEZ,                   )        Judge: Hon. Lawrence K. Karlton
17                                   )
                    Defendants.      )
18                                   )
     _______________________________ )
19
20         IT IS HEREBY STIPULATED AND AGREED between plaintiff, United States
21   of   America,   and    defendants,   LONNIE   TERRELL,   ANTHONY    MONTANO,   ALEX
22   LINDBERG, JEREMY TERRELL, NICHOLAS ROMAN, and RUTH JIMENEZ, through their
23   respective attorneys, that the Court should vacate the status conference
24   scheduled for September 20, 2011, at 9:15 a.m., and reset it for November
25   8, 2011, at 9:15 a.m.
26         Counsel for defendants require further time to review discovery and
27   to negotiate with the government in an effort to resolve this matter.
28   / / /
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 1         It is further stipulated by the parties that the Court should
 2   exclude the period from the date of this order through November 8, 2011,
 3   when it computes the time within which the trial of the above criminal
 4   prosecution must commence for purposes of the Speedy Trial Act.            The
 5   parties stipulate that the ends of justice served by granting defendants’
 6   request for a continuance outweigh the best interest of the public and
 7   the defendants’ in a speedy trial, and that this is an appropriate
 8   exclusion of time for defense preparation within the meaning of 18 U.S.C.
 9   § 3161(h)(7)(A) and (B) (Local Code T4).
10   Dated: September 16, 2011               Respectfully submitted,
11                                           DANIEL BRODERICK
                                             Federal Defender
12
                                             /s/ M. Petrik
13
                                             MICHAEL PETRIK, Jr.
14                                           Assistant Federal Defender
                                             Attorney for Anthony Montano
15
16   Dated: September 16, 2011               /s/ M. Petrik for David Dratment
                                             DAVID DRATMAN
17                                           Attorney for Lonnie Terrell
18
19   Dated: September 16, 2011               /s/ M. Petrik for Ronald Peters
                                             RONALD PETERS
20                                           Attorney for Alex Lindberg
21
22   Dated: September 16, 2011               /s/ M. Petrik for Daniel Schultz
                                             DANIEL SCHULTZ
23                                           Attorney for Jeremy Terrell
24
25   Dated: September 16, 2011               /s/ M. Petrik for Lisa Meier
                                             LISA MEIER
26                                           Attorney for Nicholas Roman
27
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     Stipulation and Order                  -2-
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 1   Dated: September 16, 2011               /s/ M. Petrik for Kelly Babineau
                                             KELLY BABINEAU
 2                                           Attorney for Ruth Jimenez
 3
     Dated: September 16, 2011               BENJAMIN B. WAGNER
 4                                           United States Attorney
 5                                           /s/ M. Petrik for M. Anderson
 6                                           MICHAEL ANDERSON
                                             Assistant U.S. Attorney
 7
 8
 9                                         ORDER
10         IT IS SO ORDERED.      The Court Specifically finds that the ends of
11   justice served by granting of such a continuance outweigh the interest of
12   the public and the defendant in a speedy trial.           The Court orders time
13   excluded from the date of this order through the status conference on
14   November 8, 2011, pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B) (Local
15   Code T4).
16
17   DATED: September 19, 2011
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     Stipulation and Order                  -3-
